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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
UNITED STATES OF AMERICA,

                                            Plaintiff,
                                                                     NOTICE OF MOTION
                          -against-                                  12Cr.585(KBF)

IOANNIS VIGLAKIS,
     a/k/a “Pablo,”


                                             Defendant.
----------------------------------------------------------------X


        PLEASE TAKE NOTICE, that upon the papers and proceedings that constitute

the record to date, the undersigned Justin Levine, Esq., counsel for Ioannis Viglakis, will

move this court at the United States Courthouse, at 500 Pearl Street, New York, New

York, or at a time and date to be fixed by the Court for the following relief:

    1. An order dismissing the indictment due to a violation of defendant's Fifth

        Amendment right to due process of law.

    2. An order dismissing Count Two and Three as to the statute does not allow for

        extraterritorial jurisdiction

    3. An order dismissing Count Three because the defendant’s activity does not fall

        within the statutory jurisdiction of 18 USC §924(c).

    4. An order directing the government to provide advance notice of 404(b) material.

    5. An order directing the government to provide all information that is material and

        favorable to the defendant pursuant to Kyles v. Whitley, 115 S.Ct. 1555 (1995),

        Brady v. Maryland, 373 U.S. 73 (1963), Giglio v. United States, 405 U.S. 150

        (1972), United States v. Bagley, 473 U.S. 667 (1987) and their progeny.
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   6. Such other and further relief this Honorable Court may deem just and proper.

Dated: New York, New York
       May 27, 2013
                                                  Respectfully submitted,



                                                  _______________________
                                                  Justin Levine, Esq.
                                                  Attorney for Ioannis Viglakis
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                                                  Bronx, NY 10451
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